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                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


     DONNA CURLING, et al.

     Plaintiff,
                                                     CIVIL ACTION FILE NO.: 1:17-cv-
    vs.                                          )   2989-AT
                                                 )
     BRAD RAFFENSPERGER, et al.                  )
                                                 )
     Defendant.                                  )
                                                 )
"   _ _ _ _ _ _ __ _ _ _                         )




    SUPPLEMENTAL DECLARATION OF RHONDA J. MARTIN



           RHONDA J. MARTIN declares, under penalty of perjury, pursuant

    to 28 U.S.C. § 1746, that the following is true and correct:

    1. I have personal knowledge of all facts stated in this declaration and, if

       called to testify, I could and would testify competently thereto.

    2. This declaration supplements my Declaration of March I 0, 2020.

    3. I am Executive Secretary for the Qatar Computing Research Institute

       Scientific Advisory Committee. I have developed avionics software for

       the Space Shuttle and worked with the Department of Defense to develop
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   guidance and policy for the testing of computer software for mission-

   critical applications. I have also taught AP Statistics and other Upper

   School level mathematics courses. l have an M.S. in Operations Research

   and a B.S. in Applied Mathematics from Georgia Institute of

   Technology, and Teaching Certification in Math Education

  Major/Science Education Minor from Purdue University.

Logic and Accuracy Testing Procedures

4. On February 17, 2020, I witnessed Fulton County' s Logic and Accuracy

   Testing at the Fulton County Elections Preparation Center, 1365 English

   Street, NW, Atlanta. At that time, 1 asked Blake Evans, Fu]ton County

  Elections Chief to send me a copy of the Logic and Accuracy Procedures.

  I attest that the attached document (Exhibit 1) is a true and correct copy

   of the procedures I received from Mr. Evans.

Fulton County Absentee Ballot Processing

5. On June 17, 2020, I visited the Fulton County Registration and Elections

  Department at 141 Pryor Street SW, Atlanta, to observe the processing of

   absentee mail ballots. Ralph Jones, Registration Chief of the Fulton

   County Registration and Elections Department, gave me a tour and

   explained the process being followed.

6. Ballots were being duplicated by hand if they were:
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      • Rejected by the scanner for overvotes.

      • Rejected by the scanner due to a printing problem (some ballots

           were printed choosing the "fit to page" optjon rather than using

           required margins).

      • Not accepted by scanner for other reasons (e.g., damaged ballots).

7. Ballots needing duplication were s01ted by precinct and party to

   determine how many ballots of each ballot style needed duplication.

8. Based on the criteria that I understand the scanner/tabulator used for

   rejection of ballots, I believe that several thousand ballots would have

   been hand-duplicated out of an estimated 173,000 absentee mail ballots

   cast.

9. The blank ballots required for manual duplication were printed using

   Ballot on Demand Printers.

JO.Then, one person duplicated the ballots and passed the originals and

   duplicates onto another person for verification. Once the second person

   verified that the duplication was done correctly, the original ballots were

   placed in a box and the duplicates were scanned.

11.No markings were made on the duplicates indicating that they were

   duplicates or allowing them to ever be associated with the conesponding

   originals again. No duplication logs were created.
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Fulton County Post-Election Audit Process

12.On June 29, 2020, I attended the Pilot Risk Limiting Audit (RLA)

   conducted at the Fulton County Elections Preparation Center, 1365

   English Street, NW, Atlanta, by Fulton County Board of Registration and

   E lections Staff (including Blake Evans, Elections Chief, and Ralph Jones,

   Registration Chief) with assistance from the Secretary of State's Office

   (including Kevin Raybmn, Deputy Elections Director and Deputy

   General Counsel, and Gabriel Sterling, Chief Operating Officer) and

   Monica Childers, Project Manager, Risk Limiting Audits, of

   VotingWorks.

13.The pilot risk limiting ballot polling audit focused on the Fulton County

   Democratic Presidential Preference Primary ("PPP"). Mr. Rayburn stated

   that the Democratic PPP was selected for auditing "a long time ago"

   because "people care about this." Fulton County was selected because it

   would be "most illustrious of the process."

14.Mr. Rayburn also said that the process of this pilot audit was basically the

   same as the one held for the Cartersville municipal election in November

   2019 although this was a more complicated election process with the PPP

   starting in March, then stopping and starting again in May for completion

   in June.
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15.The pilot RLA sampled ballots from both the March and June portions of

   the election inclucling outputs of ballot marking devices (BMDs) from in-

   person voting, absentee ballots marked by hand, and provisional ballots.

16.Hand-duplicated ballots were also included in the pool but were not

   labelled so there was no way to know if any were selected for the audit. 1t

   was also impossible to compare the1n to the corresponding originals since

   no duplication logs were created. This is conce1ning because the audit

   process requires working with the original source documents. There were

   a material number of such duplicates that had no audit trail. Another

   concern is that there is also no way to be sure that BMD printouts reflect

   voter intent because few voters seem to review their ballot cards for

   accuracy. When Dr. Richard DeMillo inquired about this, Mt. Rayburn

   replied "We know you have your views-we are going to continue on

   here."

17.It should be noted that a large percentage of the cast ballots that formed

   the sampling population would not have included the Democratic PPP,

   the subject of the RLA. The Democratic PPP contest would not have

   been present if

   • The ballot was a Republican or Non-partisan ballot
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   • The ballot was cast in the JW1e election by a voter that had also cast a

      ballot in the March PPP before it was suspended due to COVID.


   In fact, just over 70% of the ballots cast contained votes for the

   Democratic PPP. Approximately 42,000 voters cast ballots either in

   person or using absentee ballots for the March PPP. Each of these voters

   were also eligible to vote again in JW1e, though their June ba1lots would

   not have included the PPP contests from March. This phenomenon

   inflated the number of cast ballots, since individual voters could cast two

   ballots each.


18.lt is also disturbing to note that the election results used for the audit do

   not match the "Official Results" for Fulton County found on the Georgia

   Secretary of State's website on 07.19.20 making it difficult for the public

   or press to even know the vote tallies for the election or have a sense of

   what underlying results were being used by this audit procedure.
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FROM SOS WEBSITE on 07.17.20                                                USED FOR PILOT RLA
(https://results.enr.darityelections
.com/GA/Fulton/ 103674/web.25423
2/#/su mmary?v=255464%2F)
DEM - President of the United          total      %of    over     under       total
States                                 votes     votes   votes    votes      votes % of votes
Michael Bennet                             488       0.3     45      1785         539   0.27%
Joseph R. Bid en                       134,005     83.62     45     1785     161,577   81.72%
Mid1ael R. Bloomberg                     1,021      0.64     45     1785       2,393     1.21%
Pete Buttigieg                           1,237      0.77     45     1785       1,393     0.70%
John K. Delaney                            126      0.08     45     1785         128     0.06%
Tulsi Gabbard                              501      0.31     45     1785        600      0.30%
Amy Klobuchar                              623      0.39     45     1785        732      0.37%
Deval Patrick                              139      0.09     45     1785         158     0.08%
Bernie Sanders                          16,308     10.18     45     1785      23,521    11.90%
Tom Steyer                                 101      0.06     45     1785        122      0.06%
Elizabeth Warren                         4,229      2.64     45     1785       5,038     2.55%
Andrew Yang                              1,485      0.93     45     1785       1,524     d.77%
Totals                                 160,263    100.01     45     1785     197,725      100°/4
REP - President of the United States
Donald J. Trump (I)                     33,861      100      0      3271      38,042      100%

GRAND TOTALS                           194,124               45     5056     235,767


TOTAL BALLOTS CAST                                                           275,484




   19.The pilot RLA proceeded as follows. All participants were sworn in.

         There were 3 audit teams consisting of 2 people each. Ms. Monica

         Childers of Voting Works presented a brief overview of Risk Limiting

         Audits. Twenty participants lined up to roll the 20 separate 10 sided

         dice to create a seed for the pseudo random number generator. It was

         020067225949418 l 1068. A photo was taken and posted to Twitter.

  20.Ms. Childers manually entered the election results (each candidate

         name and number of votes received in both the Democratic and
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   Republican PPP) into Arlo (VotingWorks RLA software). After she

   specified a risk level of 10% and supplied the ballot manifest, Arlo

   determined that 2 7 bailots were needed if there was to be a 90%

   chance of completing the RLA in I round. Arlo provided the list of 27

   randomly selected Ballots indicating the Batch Name, Ballot Number,

   and Audit Board that should receive the ballot. Ario also provided

   labels corresponding to each selected ballot. Each audit team was

   given a tally sheet where they would record the votes from the

   randomly selected ballots assigned to them and a sheet of labels Jisting

   their assigned ballots.

21.The naming convention used to identify the batches made it relatively

   easy to detennine the type of the ballots that were selected:

   4 - ln Person Votes from the March Contest

   0 - Absentee Ballots for the March Contest

   12 - In Person Votes for the June Contest

   10 - Absentee Ballots for the June Contest

   1 - PR Ballot (provisional?)

22.For each ballot, the audit team went to the ballot custody control tab]e

   to request the indicated batch of ballots. After signing out the batch,

   the team took the relevant container to their table and counted dowh to
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   the selected ballot, removed it and replaced it with a brightly colored

   sheet of paper with a label attached specifying the batch name and

   ballot number. A similar label was applied to the ballot.

23.Each audit team was instructed to mark exactly what they saw on the

   ballot for the selected PPP race on their tally sheet - including

   overvotes (of course, there shouldn't have been any of these since

   overvoted ballots were hand-duplicated so that they would be accepted

   by the scanners). The ballot was then placed on the top of the batch in

   its container and the container was returned to the ballot custody

   control table where it was signed back in.

24.According to Ms. Childers, had they encountered any hand-duplicated

   ballots, the audit teams were to request that the corresponding original

   ballots be located and provided for examination and tallying. Ms.

   Childers was incredulous when told that hand-duplicated ballots were

   not labelled, thereby making the process of locating the original source

   documents impossible.

25.During a meeting with Mr. Jones on August 17, 2020, I asked about

  plans to label hand-duplicated ballots in future elections so that

   original source documents could be located and used during future

  RLA processes. He said they have no plans to modify current
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   processes to mark such ballots as duplicates. I explained that such a

   practice fails to create an essential audit trail, but was unable to

   convince Mr. Jones of the crucial nature of an audit trail to verify that

   the duplicated ballots match the original ballots reflecting voter intent.

26.After al1 of the ballots specified by Arlo had been retrieved their

   results recorded on the tally sheets, and the ballot containers retwned

   to custody, the tally sheets were twned in to Ms. Childers who entered

   the results into Arlo:

   16 votes for Biden

   1 vote for Sanders

   6 blanks

   4 votes for Trump

2 7. Of the 2 7 randomly selected ballots, only 17 contained votes for the

   Democratic PPP, though the 6 blanks were listed as Democratic

   Ballots on the audit report. The blanks were all cast in the June election

   either in person or absentee (the timing for the PR ballot is unknown),

   so it is conceivable that those voters had already voted in the PPP in

   March. Or, they chose not to vote in the Democratic PPP possibly

   because Biden was the only candidate still in the race.
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28. The audit report did not differentiate between instances where the PPP

   contest was left blank by the voter or where the race did not appear on

   the June ballot. The tally sheets did have separate rows for ' no vote

   cast" and "no PPP on the ballot", but Ario only provided one option for

   recording these instances for the Democratic contest and one option for

   the Republican contest: Overvote/Blank Vote/Not on Ballot.

29.Observers were not able to see the individual ballots to compare them

   with the markings on the tally sheets and therefore had to trust the

   information on the tally sheets and that it was properly entered into

   Arlo.

30.After a bit of a delay, Ms. Childers announced that Arlo had decreed

   that 1 round was sufficient to complete the RLA since the calculated p-

   value of .05% was less than the specified risk limit of 10%, and the

   outcome of the Democratic PPP in Fulton County was validated.

31.1 am concerned about the proclamation by the Secretary of State that

   this pilot RLA confirmed the outcome of the PPP for a number of

   reasons. First of all, trusted source documents were not used as the

   basis for the audit. Secondly, I am unsure as to whether the Ario

   software was designed to handle an election as complex as this one.

   Blindly applying a software-based auditing tool when the basic
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     assumptions of the underlying statistics are violated does not bolster

     my confidence in the state of Georgia' s conduct of elections or their

     ability to employ RLAs in a trustworthy manner.

Ballot Adjudication and Software Vote Counting

  32.On August 14, 2020, 1 visited the Fulton County Elections Preparation

     Center, 1365 English Street, NW, Atlanta, to observe the adjudication

     of absentee ballots from the August 11 , 2020 Runoff Election under

     the supervision of Fulton County Board of Registration and Elections

     Staff, Ralph Jones, Registration Chief.

  33.Exhibit 2, pages 1-13, are screen shots of the activities in the

     adjudication process taken by Coalition representatives Samantha

     Whitley and myself during the Vote Review Panel meetings on August

     14, 2020 and August 17, 2020. I attest that they are true and correct

     images of what was displayed on the screen during the adjudication

     process.

  34.It is my understanding that there had been previous adjudication

     sessions, but Fulton County neglected to provide notice so that I could

     attend and observe.

  35.After a delay while the Dominion technology support person struggled

     to get the system set up for adjudication, Mr. Jones briefly trained the
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   Vote Review Panel members on how to operate the lmageCast

   adjudication software. There were two screens set up so that two Vote

   Review Panels could operate simultaneously.

36.Votes which had been determined by the Dominion software to be

   overvotes or ambiguous marks were flagged for on screen review and

   adjudication by the Vote Review Panel. This adjudication process took

   place completely on screen where the vote counting decisions were

   made based on a low resolution black and white image, without

   looking at the original paper ballot. See Exhibit 2, page 11.

3 7 .As the Vote Review Panels got to work processing the ballots that had

   been flagged for adjudication, it was very difficult to observe their

   activities in a meaningful way. The Vote Review Panels quickly

   clicked here and there and switched from one view to another as they

   examined the ballot images, without making a record of who approved

   each vote change or why the decision was made. At times, they

   appeared to almost forget to confer and confirm that they agreed on the

   interpretation of the vote; the most important part of the process was an

   afterthought as attention was focused on operating the adjudication

   software.
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38.The Vote Review Panel was literally changing how the votes being

   examined were tallied on the server without a paper audit trail or a

   verifiable record of how and why the votes were being changed. See

   Exhibit 2, page 12. Although electronic adjudication logs were

   presumably being kept of the changes, there was no attempt to review,

   verify or sign the logs, making any system logs of limited value in

   performing an audit or establishing proper controls. I am aware of

   nothing in the State's instructions or training for the Vote Review

   Panels that requires a verifiable audit trail for these changes to the vote

   count.

39. The first Vote Review Panel paused when presented with a blank

   ballot (no vote marks at all appearing on the black and white image) to

   ask Mr. Jones what to do. See Exhibit 2, page 13. After waiting for a

   while for him to finish up with the second Vote Review Panel, the first

   Vote Review Panel decided to accept the blank ballot as-is so they

   could continue adjudicating other ballots. There was no request to see

   the original paper ballot to ensure that it was, in fact, blank.

40.Of the ten ballots that I observed being adjudicated, three appeared to

   be blank (to have no votes marked at all on the ballot). At no time, did

   anyone ask to see the co1Tesponding original paper ballots to determine
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   whether the scanner was failing to detect or record votes perhaps

   because of the ink color.

4 1.While not impossible, it seems odd that a voter would go to the trouble

   to return a ballot with no vote marks at all.

42.During the A ugust 10, 2020, State Election Board Meeting, Rule 183-

   1-15-.02(2) Definition of Vote was adopted for public comment. A

   portion of this proposed rule specifies scanner settings as follows: (k)

   Ballot scanners that are used to tabulate optical scan ballots marked by

   hand shall be set so that: 1. Detection of 20% or more fill-in of the

   target area surrounded by the oval shall be considered a vote for the

   selection; 2. Detection ofless than 10% fill-in of the target area

   surrounded by the oval shall not be considered a vote for that selection;

   3. Detection of at least 10% but less than 20% fill-in of the target area

   surrounded by the oval shall flag the ballot for adjudication by a vote

   review panel as set forth in O.C.G.A. 2 l-2-483(g). ln reviewing any

   ballot flagged for adjudication, the votes shall be counted if, in the

   opinion of the vote review panel, the.voter has clearly and without

   question indicated the candidate or candidates and answers to

   questions for which such voter desires to vote. Part (e) of the rule

   states: If, in reviewing an optical scan ballot marked by hand, a
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   discrepancy is found between the voter' s mark on the ballot that

   clearly and without question indicated the voter's intent and the result

  tabulated by the ballot scanner, the voter's mark shall control and be

   counted. Nothing herein shall be deemed to disallow the use of ballot

   scanners for tabulation of ballots.

43.1 participated remotely in the State Election Board Meeting on August

   10, 2020, and listened to the discussion of scanner settings. Based on

   my personal observation of the Fulton Vote Review Panels'

   adjudication process and information displayed on computer screens

   from which they made vote counting decisions, I am concerned that the

   State Election Board is making decisions without adequately testing

   the scanners to be sure the settings are appropriate to detect voter intent

   and coUht all votes; more specifically, how do they know that less than

   10% fill in absolutely corresponds to no vote being present? If the

   scanner settings are not sensitive enough to flag a ballot for

   adjudication when voter marks are present, the Vote Review Panels

   will never be given the opportunity to determine whether voter intent

   is, in fact, being reflected in the tabulation. Based on my observation

   of the Fulton process, I am also concerned that the State Board has no

   rule that requires full paper audit trail documentation and
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   reconciliation of votes accepted and rejected by the Vote Review Panel

   and the impact of their decisions on the final vote tallies.

44..Not long after the adjudication process began, an error message

   appeared on the screen being used by the first Vote Review Panel

   indicating a problem with loading the next ballot for adjudication. Mr.

   Jones glanced at the message and said that meant that more ballots

   needed to be loaded. Soon thereafter, the second Vote Review Panel

   encountered a similar message.

45.After a short delay wrule Mr. Jones and the Dominion technology

   support person struggled to load more ballots, Mr. Jones declared that

   there were no more ballots to adjudicate and the exercise was

   complete. There was no ballot accounting performed to attempt to

   verify the number of ballots the system flagged for adjudication against

   the number of ballots processed by the Vote Review Panels.

46.At this point, the Vote Review Panel members were asked to provide

   identification so that they could be paid. I was surprised that at no time

   did I see anyone administer or swear an oath concerning the

   adjudication of absentee ballots.

4 7. On August 17, 2020, I retmned to the Fulton County Elections

   Preparation Center, 1365 English Street, NW, Atlanta, to observe the
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   adjudication of provisional ballots under the supervision of Fulton

   County Board of Registration and Elections Staff, Ralph Jones,

   Registration Chief.

48.An error message appeared on the screen prior to loading any ballots

   for adjudication. This time, Mr. Jones sat down and read the error

   message and the additional information screens.

49.After some time was spent with Mr. Jones and the Dominion

   technology support person struggling to load provisional ballots for

   adjudication Mr. Jones declared that there were no provisional ballots

   to adjudicate.

SO.I have a number of concerns about the adjudication process as it is

   conducted by Fulton County Board of Registrations and Elections

   Staff. At no time did I see tbe Vote Review Panels look at the second

   page of the ballot image to see the AuditMark Vote Cast Record so

   that they could be sure the adjudication software was performing as

   they intended. Secondly, I did not see anyone ask to see any of the

   original paper ballots, not even those that appeared to be blank

   although the images are low quality images that may easily fail to

   reflect marginal marks, or marks made with certain non-black inks.

   Total trust was placed in the low quality images produced by the
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     scanners. I came away from my observation time feeling that I had just

     witnessed an extremely en·or prone and chaotic process with few

     controls to assure that votes were recorded as intended, that all ballots

     needing human attention were actually reviewed, and that adjudication

     changes were thorough and auditable.



Executed on this date, August 23, 2020.




                                             Rhonda J. Martin
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      E   RE
     THE OTE
Logic and Accuracy Procedures


                             Version 1.0
           Georgia Secretary of State - Brad Raffensperger
                          © January 2020




                                                                    EXHIBIT
                                                                      1
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                                        SE~~RE
                                         THE~OTE

                        -   -                                            -




                        Logic and Accuracy Procedures

Items needed when testing:
From EMS workstation computer create the following items from the Election Project associated to
the election for which testing is being conducted:
• Use Election Event Designer Application (EEO) for the following:
       o Programmed Technician Card
       o *Programmed Poll Worker Card*
       o USB Drive containing information from GA ICX BMD programming group
       o *Print out of Ballot Activation Codes*
       o *Programmed Compact Flash Cards for Polling Place Scanner*
       o *Programmed Security Key Tab for Polling Place Scanner*
              ■ Recommendation: Create the * items above for each polling location and then use
                 these to L&A test the equipment designated for the same polling place; at
                 completion of L&A test on designated equipment package these items with the
                 tested equipment for delivery to the designated polling place
•   Provided by SOS after Election Project Obtained
       o Election Project User names and Passcodes
       o Technician Card Passcode
       o Poll Worker Card Passcode
       o Security Key Tab Passcode
       o Polling Place Scanner Re-zero Passcode
       o Poll Pad User name and Passcode
       o Poll Pad Menu Code


Testing Steps:

A. Preparing the BMDs
   • Connect BMD to Printer
   • Connect BMD and Printer to power supply
   • First, Power Printer On
   • Power the BMD On
   • Verify installed version in top left corner of screen
   • Confirm presence of State Acceptance Test Sticker and seal on top left of BMD
   • Insert Technician Card and enter passcode for specific election
   • Verify date and time are properly set
         o If time or date needs to be adjusted, touch Modify and set the time and date
         o If time and date are correct, touch Confirm
                                                                                                   1
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                                          SE~~RE
                                          THE~OTE

   •   Touch Clear All Election Data
   •   Touch Yes
   •   Enter passcode
   •   Touch OK
   •   Insert USB Drive into an available USB slot in the Election Data compartment of the BMD
   •   Touch Load Election Data
   •   Select the data file to be loaded from the USB Drive
          o Touch Select
          o Touch Copy
          o Touch Ok
   •   Remove the USB Drive from the Election Data compartment of the BMD
   •   Close the Election Data compartment and attach seal, notate the number of the attached seal
       on paperwork
   •   Remove Technician Card
   •   Insert Poll Worker Card and passcode for specific election
   •   Touch Select Tabulator
   •   Select the BMD for the Polling location to which this BMD is being assigned
   •   Touch OK
   •   Touch Manual Selection Activation and confirm a checkmark appears in the box
   •   Touch AVS Controller and confirm a checkmark appears in the box
   •   Touch Open Polls
   •   Touch Yes
          o If Warning displayed regarding printer, confirm the Printer is connected and On
          o Touch OK
          o Touch Open Polls
          o Touch Yes
   •   Name of Polling Place BMD is assigned will display in Black on the top left of BMD Screen;
       confirm correct Polling Place shown
   •   Name of Election will display in Gray on the top left of BMD Screen ; confirm correct Election
       shown
   •   Remove the Poll Worker Card
   •   Confirm Total Ballots Printed in bottom left corner shows zero (0)
   •   BMD is now ready


8. Preparing the Polling Place Scanner
   • Insert the Primary Compact Flash Card into the Poll Worker Slot
   • Insert the Backup Compact Flash Card into the Administrator Slot
   • Confirm the Polling Place Scanner connected properly to the Ballot Box
   • Confirm presence of State Acceptance Test Sticker on right side of scanner
   • Power the Polling Place Scanner ON by plugging the Ballot Box into an AC power supply

                                                                                                        2
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                                         SE~~RE
                                         THE~OTE

   •   When the Polling Place Scanner begins to beep, beep, beep; align and carefully press down
       the Security Key Tab to the Security Key Slot
   •   When prompted on the screen, key in the passcode for the specific election, then press Enter
   •   Confirm Date and Time, modify the date and time if necessary
   •   Touch Utilities
   •   Touch Diagnostics
           o Touch Simple
           o Touch Yes after Thermal Printer test
           o Touch Print
           o Touch No
           o Review printed tape, confirm software version
           o If any item in the Diagnostic test fails , do not proceed
   •   Touch Open Poll
           o Enter passcode for specific election , if prompted
   •   Touch Zero
           o Confirm tape shows zero results for all candidates in all races
           o If results are not zero, do not proceed
   •   Touch No for additional copies
   •   Confirm Polling Place Scanner shows zero (0) ballots cast
   •   Polling Place Scanner is now ready to accept ballots


C. Preparing Poll Pads for BMD LA Testing
   • Notification of the LA/Adva nce Voting data set for Poll Pad along with a QR Code image for
      scanning by Poll Pad will be forwarded to those locations with a scheduled election
   • Reference Poll Pad training documents and materials for assistance if the following steps need
      further explanation
   • Power on Poll Pads to be used for LA/Advance Voting; this will not be ALL Poll Pads but only
      specific Poll Pads
   • Connect designated Poll Pads to the appropriate connection
   • Launch the Poll Pad application and scan the QR code image; follow prompts displayed on
      Poll Pad to obtain the Poll Pad LA/Acceptance Data set for the scheduled election
   • Once download of the data file is complete, close the Poll Pad application
   • Disconnect the Poll Pad from the appropriate connection
   • Launch the Poll Pad application again
   • Touch Get Started
   • Enter User name and Passcode for specific election
   • Touch Manual Entry
   • Key in the Precinct Name or Precinct ID into the Last Name field
   • Touch Search
   • Touch the Precinct and Combo record desired and follow the prompts to create a voter card

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   •   Create a voter card from Poll Pad for each unique ballot style within the designated Polling
       Location
          o Recommend labels be placed on card identifying what ballot style will be displayed by
              BMD once card is inserted
          o BMD removes the activation code from the Voter Card once used, therefore create the
              card again from Poll Pad after each use by a BMD


D. Testing the BMD and Printer
Use a combination of Poll Worker Card with Ballot Activation Codes for the polling location, and Voter
Cards created from a Poll Pad loaded with the LA/Advance Voting dataset to bring up ballots on the
BMD
   • Produce at least one printed ballot from each BMD assigned to the polling location
   • Produce a test deck from the BMDs assigned to the polling location for each unique ballot style
      within the polling location. The test deck must contain at least one vote for each candidate
      listed in each race within the unique ballot style
           o Example: Ballot from BMD 1 contains a vote for only the first candidate in each race
              listed on Ballot Style 1, Ballot from BMD 2 contains a vote only for the second candidate
              in each race on Ballot Style 1, and continue through the line of devices until all
              candidates in all races within the unique ballot style have received a single vote
           o If Number of BMDs outnumber the number of vote positions on the unique ballot
              style, start the vote pattern over until all BMDs have produced one printed ballot
          o If Number of unique ballot styles in the polling place is greater than 1, once the
              vote pattern is complete for a unique ballot style , proceed to the next BMD in line to
              start the review of the next unique Ballot Style
          o All unique ballot styles do not have to be tested on each BMD
  • Review BMD-generated Test Deck and confirm the vote content before placing in the
      designated Polling Place Scanner

E. Testing the Polling Place Scanner
   • Scan the BMD-generated Test Deck into the Polling Place Scanner
   • Scan one blank optical scan ballot style(s) associated to the Polling Place to verify the Polling
      Place Scanner will recognize the ballot style in case of emergency
   • Verify Scanner(s) shows a number of Ballot Cast equal to the number of ballots in the BMD-
      generated test deck plus the scanned blank Optical Scan ballot styles
   • Firmly place the Security Key Tab in the Security Key Slot
   • Touch Close Polls
   • Enter the passcode
   • Touch Enter
   • Touch Yes
   • Touch No for additional tapes (Scanner will automatically produce 3 copies of the closing tape)

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   •   Review the results tape and confirm result printed matches the known vote content of the
       BMD-generated and Optical Scan ballot test deck
           o If results do not match, the scanner has failed , do not proceed
   •   Touch Power Down
   •   Touch Yes
   •   Unplug the Ballot Box from the AC power supply
   •   When the unit is OFF, open the Poll Worker card slot door and remove the Poll Worker
       Compact Flash Card
   •   The Poll Worker Compact Flash card for each Polling Place Scanner MUST be uploaded to
       the RTR application to confirm the Compact Flash card can be recognized and results
       transferred to the EMS for tabulation; then validate and publish the uploaded result file
   •   After the Compact Flash Card is uploaded to RTR, return the Compact Flash card to its
       designated Polling Place Scanner and re-insert it into the Poll Worker card slot


F. Preparing the BMD for Election
   • Insert the Poll Worker Card and enter passcode
   • Touch Admin Menu
   • Touch Close Polls
   • Touch Yes to confirm
   • Touch Reset
   • Touch Yes to confirm
   • Enter Passcode for specific election
   • Touch Ok to confirm
   • Confirm Public Counter is at Zero (O); center of BMD screen
   • Touch Power off, bottom right corner of screen
   • Touch Yes to confirm
   • Remove Poll Worker Card
   • Turn Printer Off
   • Disconnect the Power and Printer from BMD
   • Close and seal the Power and Election Data compartments on the right side of the BMD
         o Make note of the seals attached
   • Make the BMDs and Printers ready for delivery to the Polling Place


G. Preparing the Polling Place Scanner for Election
   • Confirm that both the Poll Worker and Administrator Compact Flash cards are inserted into
      their assigned slots
   • Power the Polling Place Scanner ON by plugging the Ballot Box into an AC power supply
   • When the Polling Place Scanner begins to beep, beep, beep; align and carefully press down
      the Security Key Tab to the Security Key Slot

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   •   When prompted on the screen, key in the needed passcode, then press Enter
   •    Confirm Date and Time, modify the date and time if necessary
   •   Touch Utilities
   •   Touch Re-Zero
   •   Enter Re-Zero passcode
   •   Confirm Ballot Cast shows as Zero (0)
   •   Touch Utilities
   •   Touch Report
   •   Touch Election Report
   •   Touch Zero
   •   Enter Number of Reports to print= 1
   •   Touch Enter
   •   Touch No for additional copies
   •   Confirm tape shows zero results for all candidates in all races
   •   Remove the tape and place with L&A Paperwork
   •   Touch Power Down
   •   Touch Yes
   •   Unplug Ballot Box from AC power supply
   •   Open Ballot Box and remove all test ballots from the Main bin, from the Write-In bin, and from
       the emergency bin
   •   Confirm that all bins are empty and properly secured
   •   Close and seal the ballot box, make note of the seals applied
   •   Place seals on the Poll Worker and Administrator Compact Flash Card doors, make note of the
       seals applied
   •   Make Ballot Box with attached Polling Place Scanner ready for delivery to the Polling Place


H. Testing ICC Workstation and Central Scanner
   • Load ICC ABS tabulator Data Set to ICC workstation computer DVS folder
   • Launch ICC Application
   • Import Tabulator
   • Attach Security Key Tab; Enter Passcode
   • Enter Name of Project equal to name of ICC ABS tabulator
   • Click Load
   • Click Configuration
   • Set secondary results path
   • Verify Scanner is On and recognized by the ICC application
   • Click Scan Options
   • Set Ballot configuration to Dynamic
   • Set scanner to Stop on Overvotes for ALL races

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     •   Set Scanner Continuity to Continuous Scan
     •   Click OK
     •   Click Scanning
     •   Click YES
     •   Insert Test Deck with known result
     •   Click Scan
     •   Verify Scanner recognizes and scans all ballots within the test deck
     •   Verify Scanner recognizes any error ballots that may be included within the test deck
     •   Verify Scanner recognizes any overvotes
     •   Accept the Batch
     •   Close the ICC application
     •   Remove ICC ABS tabulator Data Set from ICC workstation computer DVS folder
     •   Open RTR Application on EMS Workstation
     •   Open election project
     •   Load Results from ICC via Secondary path established on ICC workstation
     •   Click Load
     •   Click Election Summary Report and generate Election Summary Report prior to validating and
         publish result file from ICC
     •   Click Result Files
     •   Click Search
     •   Select ICC ABS result file
     •   Click Validate and Publish
     •   Click Election Summary Report and generate Election Summary Report
     •   Verify Results shown for ABS match the known result of the Test Deck scanned by the ICC


I.   Upload LA results to ENR
     • After results have been loaded to RTR from the Polling Place and ICC scanners
     • Create folder on the Desktop of EMS computer labeled State Export
     • Open RTR , click Export
     • Click Export Type
     • Click Search
     • Verify that ONLY the GA Export File type is active (contains a checkmark)
     • In tool bar, click Settings>Transfer Points
     • Click Add
     • Click Browse; Select the folder on the Desktop labeled State Export
     • In Connection Name type State Export
     • Click OK
     • Click Save
     • Below Tool Bar, Click Start Results Export

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   •   Minimize RTR
   •   Open State Export folder on Desktop
   •   Confirm Export file present in State Export folder
   •   Extract export file and upload to State ENR
   •   Open EEO
   •   Create folder to Desktop labeled "Name of Election-Backups"
   •   Create a Backup copy of the Election Project
   •   Copy the saved Backup zip file and accompanying SHA file and place in Backups folder; copy
       the folder containing the backups to removable media
   •   Clear results from RTR
   •   Print new Election Summary Report from RTR confirming all LA results have been cleared
   •   Close RTR and EEO on EMS workstation


J. Loading Election Day Dataset to Poll Pad
   • Approximately one week prior to the scheduled Election Day, notification of Election Day data
     files for Poll Pad along with a QR Code image for scanning by Poll Pad will be forwarded to
     those locations with a scheduled election
   • Power on Poll Pad
   • Connect Poll Pads scheduled for use on Election Day to the appropriate connection
   • Launch the Poll Pad application and scan the QR code image; follow prompts displayed on
      Poll Pad to obtain the Poll Pad Election Day Data set for the scheduled election
   • Once download of the data file is complete, close the Poll Pad application
   • Disconnect the Poll Pad from the appropriate connection
   • Launch the Poll Pad application again
   • Touch Get Started
   • Enter the User name and Passcode for the specific election
   • Confirm the proper Election and Polling Location are shown at the top of the screen
   • Confirm the number of Precinct Records (voters assigned to location) is accurate
   • Confirm Check-Ins are Zero (0)
   • Connect Voter Card Encoder to Poll Pad and confirm encoder is recognized by Poll Pad
     (green indicator at top right of screen)
   • Connect power cord to Voter Card Encoder and verify power flows through Voter Card
     Encoder and charges the Poll Pad
   • Touch Scan Barcode
   • Confirm camera is operational
   • Touch Cancel
   • Touch Manual Entry
   • Key in last name of known voter in polling place
   • Touch Search
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   •   Touch selected voter record, confirm voter information shown is accurate
   •   Touch Accept
   •   Confirm Voter Certificate is displayed with signature line
   •   Put in example signature
   •   Touch Done Signing
   •   Confirm Poll Officer Initial box is operational
   •   Touch Submit
   •   Touch Touchscreen
   •   Insert Voter Card into Voter Card Encoder
   •   Verify Ballot Style and Ballot Activation Code display at bottom of screen
   •   Confirm Create Card button at top of screen becomes active
   •   Touch Create Card to verify Voter Card can be created
   •   Touch Manual Entry
   •   Find previous Voter
   •   Touch Wheel and Enter password; confirm password for specific election recognized
   •   Cancel Voter Check-in
   •   Spoil Ballot
   •   Verify mark has been removed
   •   Press iPad Home button to Close Poll Pad Application


K. Loading Update File to Poll Pad
   • On the Saturday prior to the scheduled Election Day, notification of Election Day update data
     files for Poll Pad will be forwarded to those locations with a scheduled election
   • Power on Poll Pad
   • Connect Poll Pads scheduled for use on Election Day to the appropriate connection
   • Launch the Poll Pad application and follow prompts displayed on Poll Pad to obtain the Poll
      Pad Election Day Data set for the scheduled election
   • Once download of the data file is complete, close the Poll Pad application
   • Disconnect the Poll Pad from the appropriate connection
   • Launch the Poll Pad application again
   • Touch Get Started
   • Enter User name and Passcode for the specific election
   • Confirm the proper Election and Polling Location are shown at the top of the screen
   • Confirm the number of Precinct Records (voters assigned to location) is accurate
   • Confirm Check-Ins are Zero (0)
   • Connect Voter Card Encoder to Poll Pad and confirm encoder is recognized by Poll Pad
     (green indicator at top right of screen)
   • Connect power cord to Voter Card Encoder and verify power flows through Voter Card
     Encoder and charges the Poll Pad

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•   Touch Menu
•   Touch Summary Report
•   Touch Absentees; confirm expected number of Absentee Voters for polling location
•   Touch Home
•   Touch Get Started
•   Touch Scan Barcode
•   Confirm camera is operational
•   Touch Cancel
•   Touch Manual Entry
•   Key in last name of known voter in polling place
•   Touch Search
•   Touch selected voter record , confirm voter information shown is accurate
•   Touch Accept
•   Confirm Voter Certificate is displayed with signature line
•   Put in example signature
•   Touch Done Signing
•   Confirm Poll Officer Initial box is operational
•   Touch Submit
•   Touch Touchscreen
•   Insert Voter Card into Voter Card Encoder
•   Verify Ballot Style and Ballot Activation Code display at bottom of screen
•   Confirm Create Card button at top of screen becomes active
•   Touch Create Card to verify Voter Card can be created
•   Touch Manual Entry
•   Find previous Voter
•   Touch Wheel and Enter password; confirm password for specific election recognized
•   Cancel Voter Check-in
•   Spoil Ballot
•   Verify mark has been removed
•   Press iPad Home button to Close Poll Pad Application
•   Power Poll Pad off
•   Place Poll Pad along with Voter Card Encoder, stand, charging cord and AC plug into case
•   Close Case and Seal; notate seal on paperwork
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